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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

MISSISSIPPI STATE CONFERENCE OF
THE NATIONAL ASSOCIATION FOR
THE ADVANCEMENT OF COLORED
PEOPLE, ET AL.                                                                        PLAINTIFFS

V.                                             CIVIL ACTION NO. 3:22-CV-734-DPJ-HSO-LHS

STATE BOARD OF ELECTION
COMMISSIONERS, ET AL.                                                               DEFENDANTS

Before Southwick, Jordan, Ozerden

                                              ORDER

         This case is before the Court on Plaintiffs’ Motion for Expedited Trial [40] and

Defendants’ Motion to Set Deadlines [37]. For reasons explained below, the Court grants

Plaintiffs’ motion and denies Defendants’.

         On May 19, 2023, United States Magistrate Judge F. Keith Ball entered a text-only Order

directing the parties to “file a motion proposing a scheduling order (including trial date) and

stating their reasons for requesting the dates in their proposed scheduling order.” May 19, 2023

Text-Only Order. On May 26, 2023, both parties filed their proposed schedules. See Mots. [37,

40]. Judge Ball directed the parties not to file responses; the motions are thus fully briefed.

         Before filing these motions, the parties conferred under Federal Rule of Civil Procedure

26(f) and could not agree to a proposed trial schedule. See Pls.’ Mem. [41] at 3. Accordingly,

the Court must consider the opposed proposals. Put simply, Plaintiffs favor a quicker trial

schedule, and Defendants favor a longer trial schedule:

 Event                       Plaintiffs’ Proposed Date       Defendants’ Proposed Date

 Trial                       Feb. 26–Mar. 8, 2024            Dec. 9–20, 2024
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    Pretrial Conference      Jan. 25, 2024                    Nov. 11, 2024

    Discovery Deadline       Dec. 11, 2023                    July 9, 2024

    Amendments               May 26, 2023                     June 30, 2023

    Expert Designations      Plaintiffs: Aug. 28, 2023        Plaintiffs: Mar. 9, 2024
                             Defendants: Oct. 16, 2023        Defendants: May 9, 2024

    Motions                  Dec. 22, 2023                    Aug. 9, 2024

         Defendants note that Plaintiffs’ proposed schedule is a “short period of time to conduct

fact discovery, expert discovery, and engage in dispositive motion practice.” Defs.’ Mot. [37]

¶ 2. Specifically, Defendants stress that 70 state legislative districts could be impacted by

Plaintiffs’ requested relief: the 10 challenged districts and 60 others that share borders. Id. ¶ 4.

Each of those districts, Defendants contend, will need to be “examined by experts and tested

through discovery . . . .” Id. ¶ 5.

         The Court acknowledges those concerns, but Plaintiffs’ arguments are more compelling.

Plaintiffs say that, should they prevail, they “intend to seek a court order requiring that special

elections be held in remedial districts” concurrent with the November 2024 general election.1

Pls.’ Mem. [41] at 1–2. In North Carolina v. Covington, the Supreme Court noted that courts

deciding whether to order special elections should consider “the extent of the likely disruption to

the ordinary processes of governance.” 581 U.S. 486, 488 (2017). Disruption here might be

lessened by holding special elections concurrent with the November 2024 general election. But

that would be impossible with Defendants’ suggested trial date in December 2024. Under

Defendants’ schedule, the Court might be forced to consider ordering disruptive asynchronous




1
 Following the upcoming November 2023 general election, the next general election for the
Mississippi state legislature is in November 2027.


                                                  2
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special elections or forcing Plaintiffs to wait until the November 2027 general election—thereby

extending unconstitutional representation (should they prevail).

       IT IS, THEREFORE, ORDERED AND ADJUDGED:

       1. That the deadline for amendments is now passed;

       2.   That Plaintiffs’ deadline for designating expert witnesses will be August 28, 2023;

       3. That Defendants’ deadline for designating expert witnesses will be October 16, 2023;

       4. That all discovery will be completed on or before December 11, 2023;

       5. That dispositive motions will be filed on or before December 22, 2023;

       6. The trial of this matter is set for the term beginning February 26, 2024; the pretrial
          conference is set for January 25, 2024.

The parties are instructed to contact the Chambers of Judge Ball within seven days of this Order

to set the case for a Case Management Conference.

       SO ORDERED AND ADJUDGED this the 23rd day of June, 2023.

                                             s/ Daniel P. Jordan III
                                             CHIEF UNITED STATES DISTRICT JUDGE




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